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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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TAMSIN WOLF, 09 CIV 6549 (RJS)
ECF CASE
Plaintiff,
- against - © AFFIDAVIT OF
TAMSIN WOLE
TIME WARNER, INC.,
Defendant.
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STATE OF NEW YORK |)
COUNTY OF NEW YORK ~
TAMSIN WOLF, being duly sworn, deposes and says:
1. lam the Plaintiff in the above-captioned action.
2. | submit this affidavit in support of my Motion for Summary Judgment on
Time Warner, !Inc.’s (“defendant” or “Time Warner’) Eighth Affirmative Defense.
3. Time Warner fired me on August 6, 2007.
4. | filed a charge of discrimination against Time Warner with the U.S.
Equal Employment Opportunity Commission on January 30, 2008.
3. On July 23, 2009, | filed my Complaint against Time Warner in this
action.
6. Atno time following termination of my employment did | receive any
communication or inquiry from Time Warner concerning the underlying facts of or

the case of Ofodu Law Firm v. Donna Stuart, Case No. 0516-cv-285321, before

the Circuit Court of Jackson County, Missouri.
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7. Other than at my deposition in my case against Time Warner, at no time
following the termination of my employment was | asked for any information

regarding the “Ofodu” matter.

 

Tamsin Wolt/

Sworn to before me
thisQ ¢ day of September, 2011

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Notary Public

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